1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5
     Attorney for Defendant
6    RASHAWN JACKSON

7
                         IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,      )
                                    )   Case No. 2:06-cr-00476-MCE
12                   Plaintiff,     )
                                    )   STIPULATION AND ORDER
13             v.                   )
                                    )   DATE: January 10, 2008
14   RASHAWN JACKSON, NICHOLAS      )   TIME: 9:00 a.m.
     RAPIER, and ANDREW CONWAY,     )   JUDGE: Hon. Morrison C. England, Jr.
15                                  )
16                   Defendants.    )
                                    )
17   ____________________________

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19         It is hereby stipulated and agreed to between the United States of
20   America through JASON HITT, Assistant U.S. Attorney, and defendants
21   RASHAWN JACKSON, by and though his attorney, RACHELLE BARBOUR,
22
     Assistant Federal Defender, NICHOLAS RAPIER, by and through his
23
     attorney KRESTA DALY, Esq., and ANDREW CONWAY, by and through his
24
     attorney, DAN KOUKOL, Esq., that the status conference of November 15,
25
     2007 be vacated and that a status conference be set for January 10,
26
     2008 at 9:00 a.m.
27
28   ///
1          This continuance is being requested because the parties need
2    additional time to discuss the case with the government and negotiate
3    plea agreement.   Counsel must review numerous audio recordings and
4
     other discovery, and discuss them with their clients.    Mr. Conway’s
5
     counsel has recently come into the case and needs additional time to
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     receive discovery and review it with his client.     Government counsel
7
     has been in a trial, and all defense counsel need additional time to
8
     discuss the case with him.
9
10          The parties request that speedy trial time is be excluded from

11   the date of this order through the date of the status conference set

12   for January 10, 2008   pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv)
13   [reasonable time to prepare] (Local Code T4).
14   DATED: November 9, 2007        Respectfully submitted,
15
                                    DANIEL J. BRODERICK
16                                  Federal Defender

17                                  /s/ RACHELLE BARBOUR

18                                  RACHELLE BARBOUR
                                    Assistant Federal Defender
19                                  Attorney for Defendant RASHAWN JACKSON
20                                  McGREGOR SCOTT
21                                  United States Attorney

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1                                 /s/ Rachelle Barbour for
     DATED: November 9, 2007
2                                 JASON HITT
                                  Assistant U.S. Attorney
3
4
                                  /s/ Rachelle Barbour for
5    DATED:   November 9, 2007
                                  KRESTA DALY
6                                 Attorney for defendant NICHOLAS RAPIER

7    DATED:   November 9, 2007   /s/ Rachelle Barbour for
                                  ____________________________________
8                                 DAN KOUKOL
                                  Attorney for defendant ANDREW CONWAY
9
10                                O R D E R

11        IT IS SO ORDERED.

12
     Dated: November 15, 2007
13
14                                   _____________________________
15                                   MORRISON C. ENGLAND, JR.
                                     UNITED STATES DISTRICT JUDGE
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